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IN THE UNITED STATES BANIKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
Mad Catz, Inc.

Debtor.

Chapter 7

Case No. 17-10679 (LSS)

 

 

NOTICE OF WITHDRAWAL OF PROOF OF CLAIM NO. 45

 

Humanscale Corporation hereby withdraws with prejudice proof of claim number 45 filed

with the Court on or about August 16, 2017.

Dated: (er. 4 , 2021

222.185059v1

Humanscale Corporation
By: fe Git»
Name: Ovlia Kelboachule

Title: Asseciate Geusol Course
